Case 2:97-Cr-20098-BBD Document 124 Filed 04/25/05 Pagelon Pa lD 43

 

PROB. 12
(R¢v.zfss)
UNITED STATES DISTRICT COURT H§---
WESTERN DISTRICT OF TENNESSEE §C;*Yt~','jl ila 9 259
…‘_“__' .¢ t‘.’l:t¢\, U.t). D: - . -.JT.
W.D. OF `I"l`\l, i'»'lt.lv`lPl"llS
WESTERN DIVISION
U.S.A. VS. CLIFTON S!UALLS D(}Cket NO. _2;_91§__1£_2__09_28;09_§_”

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATI()N OFFICER OF THE COURT presenting an
oiiicial report upon the conduct and attitude of Clitton Qualls who was placed on supervision by the Honorable
Julia Smith Gibbons sitting in the Court at Memghis, TN on the §_Qt_h day of June, 1998 who fixed the period of
supervision at three 13 )years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:
l. The defendant shall submit to drug testing and treatment as directed by the probation oflice.
2. The defendant shall provide full financial disclosure as directed by the probation oiiice.
3. The defendant shall make restitution in the amount of $18,03 1.00 ($17,846.00 remaining balance).
*Term of Supervised Release began November 25, 2003.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS F()LL()WS:
After reviewing Mr. Qualls’ monthly income and monthly necessary expenses, the probation office has determined

that lO% of his monthly gross income is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Mr. Clitton Qualls’ restitution payments be set at ten
(i()%) percent of his monthly gross income.

ORDER OF COURT Respectflllly,
Considered and orderedthis 57 ~>'_ day ~'/7£¢1&. =,.¢ [( £?@Q Q C,, 4
of QML, 20 _0__§ and ordered filed and Marnie Klyman

made a p f the records th ve case. U.S. Probation Ofiicer

     
 
   

     

Place Mern_phis. Tennessee
nited States Dlstrict Judge

Thls document entered on the docket she l B/

with Ru|e 55 and/or 32(b) FHCrP on

l)ate Aprii 12. 2005

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 124 in
case 2:97-CR-20098 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

